Case 1:18-cv-02192-HG-PK   Document 84-13   Filed 03/04/22   Page 1 of 10 PageID #:
                                     1349




                       Exhibit 11
Case 1:18-cv-02192-HG-PK              Document 84-13             Filed 03/04/22          Page 2 of 10 PageID #:
                                                1350



    State of Palestine
    Ministry of Justice
    Minister’s Office

    The Honorable Magistrate Judge Peggy Kuo
    The Esteemed Court Judge
    The District Court for the Eastern District of New York/ Brooklyn /the United State
    of America

                                Subject: Case No. CV-02192-RPK-PK
                                Request for International Judicial Assistance

    The Palestinian Ministry of Justice presents you with best regards, and in reference to the
    above-captioned subject and further to your memo addressed to us dated 29/1/2020,
    regarding the request for judicial assistance by issuing an order and express permission for
    Arab Bank plc in Palestine to disclose documents related to accounts of entities and
    individuals to your esteemed Court and to plaintiffs’ attorney and/or to any other authority,
    in the lawsuit filed before your esteemed Court by Aharon Miller, et. al., claiming monetary
    damages;

    We, in our capacity as Minister of the Palestinian Ministry of Justice; welcome any mutual
    cooperation and providing any legal assistance in order to reach justice, in addition, we
    confirm to your esteemed Court our utmost care in applying the legislations in force and
    abiding by its provisions; after reviewing the Palestinian legislations in force that organize
    the provisions of international judicial assistance, and after reviewing the opinion of the
    Palestinian Monetary Authority, the authorized entity to supervise and monitor banks; we
    confirm to your esteem Court that the Palestinian legislations in force and that organize
    the banking operations and legal assistance; do not permit us to respond to your request,
    because it is an express violation of the legal provisions related to lifting bank secrecy in
    Palestine mentioned in Law No. (9) for the Year 2010 in relation to banks in force in
    Palestine, which does not allow lifting bank secrecy except with the written consent of the
    customer (owner of the bank account), or by a judicial ruling issued by a Palestinian court,
    especially since the lawsuit filed in your esteemed Court is related to monetary damages’
    claims and is a private civil lawsuit, thus it is not possible to answer your request.

    Sincerely yours,
    Attached: the letter of H.E. the Governor of the Palestine Monetary Authority in relation to your esteemed
    Court’s request.

    Dr. Mohammed Al-Shaladeh
    Minister of Justice

    Note: the letter contains a stamp of the State of Palestine-Ministry of Justice Ref: 579 dated 28/10/2021
Case 1:18-cv-02192-HG-PK          Document 84-13          Filed 03/04/22      Page 3 of 10 PageID #:
                                            1351



                                  Palestine Monetary Authority


    Postal Code: 6160675
    Ref: 369m.m/10/2021
    Date: 26/10/2021


    H.E. Dr. “Mohammed Fahhad” Al-Shaladeh
    Minister of Justice
    Ramallah- Palestine


                             Subject: Case No. CV-02192-RPK-PK
                             Request for International Judicial Assistance

     We are writing to you in reference to the legal request dated January 29, 2020 addressed
     to your Excellency with a copy to us issued by Hon. Judge Peggy Kuo from the United
     States District Court for the Eastern District of New York - Brooklyn - United States of
     America in which she requests international legal assistance to obtain documents and
     papers for use in a civil case pending before her court and filed against the Arab Bank plc
     by Aharon Miller, et al., seeking monetary damages, whereby it is mentioned in the
     memorandum the request for the issuance of an order and express permission for the
     Arab Bank plc in Palestine to disclose documents related to accounts of entities and
     individuals to the court and/or to plaintiffs’ attorney and/or to any other authority.

     In our capacity, as Governor of the Palestinian Monetary Authority, we believe that the
     subject of the request is related to the disclosure and lifting of banking secrecy on the
     accounts of the bank’s customers, and providing the documents of those accounts to a
     foreign court, which violates the provisions of Law No. (9) of 2010 regarding Banks in
     force in Palestine, which prohibits anyone who, by virtue of his profession, job or work,
     has direct or indirect access to such data and information, unless such access is in
     accordance with:

     A- A written consent of the customer.
     B- A judicial ruling issued by a Palestinian court.

     We would like to note that the Palestinian Authority cooperates with the United States of
     America in the fight against terrorism, and whenever the U.S. Government seeks
     cooperation in the investigation of activities that involve terrorism, money laundering or
     other illegal activities. However, with regard to the current civil lawsuit and the request
     for documents on behalf of private litigants seeking monetary relief for damages, it is not
     possible to execute such a request, since this would be an express violation of the provisions
     of the Palestinian Banking Law mentioned below and cannot be waived except under
     very specific circumstances as mentioned above. The subject of the request is outside
     those circumstances.
Case 1:18-cv-02192-HG-PK         Document 84-13         Filed 03/04/22       Page 4 of 10 PageID #:
                                           1352




     As you are aware, our bank privacy laws in Palestine were initially adopted, and have
     continued to maintain their importance, for the following reasons:

       1. The bank privacy provisions are essential to encourage the development of a
          banking sector that attracts the trust and confidence of a population that had a
          serious mistrust of the system. The comfort provided by such laws governing the
          right to privacy of an individual resulted in the creation of a transparent system,
          which was extremely important after the Oslo Agreement of 1994 when the
          Palestinian Authority took charge of the Territories of Gaza and the West Bank.

           As in many neighboring countries, the adoption of such privacy protections is not
           meant to hide the activities of account holders, but as a guarantee and protection
           for the resulting confidence of citizens in the Palestinian banking system and its
           absence would lead to its collapse and thus economic, social and political
           instability. People will distrust the system if their privacy rights would be
           disregarded which will lead to shaking their confidence in the banking system in
           Palestine

           After the conclusion of the Oslo Agreement of 1994, banks started to conduct their
           business and activities in the Palestinian Territories under the Palestinian
           Monetary Authority, which continued the application of the banking
           confidentiality provision that were applied in these Territories due to its importance
           as highlighted above.

           Law No. (2) of 1997 regarding the Palestinian Monetary Authority stated in
           Article (41) thereof that the Board (the Palestine Monetary Authority’s Board of
           Directors) sets the regulations and instructions regulating the confidentiality of
           accounts in banks.

       2. In line with Article (26) of Banking Law No. (2) of 2002, the July 25, 2010
          Circular No.78/2010, issued by the Palestinian Monetary Authority, emphasized
          that all employees of all ranks working in banks must maintain bank secrecy
          related to bank customers and should not provide any party, inside or outside
          Palestine, or allow others to view the bank customer details, accounts, and
          transactions.

       3. The current applicable law, Palestinian Banking Law No. (9) of 2010 published in
          the Official Gazette on November 27, 2010 special issue (4) in Article (32) of
          Chapter Five thereof, reaffirmed the necessity of maintaining the confidentiality
          of bank accounts, data and information related to those accounts by any person to
          whom that information and data have been accessed by virtue of his job,
          profession, or work in a direct or indirect way with the bank, including the current
          and former members of the bank’s board of directors, main officials, employees,
          auditors, consultants and external contractors, and none of them may disclose any
Case 1:18-cv-02192-HG-PK          Document 84-13         Filed 03/04/22      Page 5 of 10 PageID #:
                                            1353



           of this information or allow for others outside the bank to view it.

       4. Article (54) Chapter Nine of the same Law lists penalties and fines based on civil
          and criminal liability for natural and legal persons violating the text of the previous
          Article (32) and any regulations, by-laws and decisions, issued by virtue of the
          Banking Law, whether on the bank and/or on any person that violates the
          provisions of banking secrecy.

     In light of the foregoing, we cannot answer the above-mentioned request of the Court by
     disclosing and lifting banking secrecy of the accounts related to entities and individuals,
     as it would violate the Palestinian Banking laws and regulations. In addition, the
     Palestinian Monetary Authority does not have any legal authority to direct an order or
     grant permission or approve to any bank operating in Palestine to disclose data and
     accounts of its customers in violation of the laws, by-laws and regulations issued in this
     regard which to not apply to the subject of this letter.

     Sincerely yours,

     Dr. Feras Milhem
     Governor
Case 1:18-cv-02192-HG-PK                        Document 84-13                       Filed 03/04/22              Page 6 of 10 PageID #:
                                                          1354
    STATE OF PALESTINE

     MINISTRY OF JUSTICE

          Minister's Office




                                                                                                      ,$).,,Ant-s,.11
                                                                         Isbn /awe /4)..s..to z#1..yzAsz                             ZakUlan A-4SaA




                                             (CV-02192-RPK-PK) tsj i5jcs1i
                                                              ti 91iota' 'ist...wa
      1.11 ;t4+3,111 eS55.             i.i.letc.3 (01CA    ti a.:"...11 sjiyuj                                        j a,31 s.jt u es...Q 5

      , C))-•                      4-1.)a SLA1,51) &J..*             JAI )ia,-.01.              Satlaa1143. /1st? (2020/1/29)

                       9i/9                       ,415 bk.”31                         c31e. S               61.:6 SA," CAS
                                                                                                                         . Cp Lin?

                         ≤a.alle    Lay        aR3a.oll ay&I"            a u ttel        cy, Eased              ruai u:tals ke-ka.11
      Jostis Ls])                                                          LIACL. a 51.,:l 414          y ≤           J.2.5 taai i eul.a

      4.,÷1).4 1.4.5 c        414-Sti 4315                   Ctitsusyrull &IL Lsk. 1)1111 tiesaia La4.41 Sjaya 4.<:..<_ 2 AS) 1.1:5
            • .1:1        :dd.. 41) t31-101
                           11;\21-,..1:11 c'Jlstarall                         Ay, 14 ,...juLaall               ;L.3         LiAn
      :L,1;31 :L.44-10 okra-ill                   islev js.,;k4 4:13$ 4c.C.M.4 4 LPL U Le..4.4Z Y Cl."4.93ilat 111aLAA)13 .4).4ea41i
         4111                   4 )1.,,IlLajL.m4.11 ()l:.? 2010 I:4J (9) 4)                                                .a
                4IL.:4 esa 4.4?._,A4 ,51 ,(44)...c.411                              i.h.a.11 &A ;can& Zialy..) YI 45ya.Jl Zdy.,11 taj

      Loc.1 4.Ai ;AL c-Lair.14 :41112A lejar                    rthall

                                                                                           4 41.. :LA?..)       i su.s•         cy, 411i 4a.ali ;c3.1:_te


                                                              . 1," eb:tal% jai j."4.10 514:ati
                                                          .441t1
                                                                         %hell eS14<-         L.44_44.414                 :4114 laity 4.11.4.4


           isL~l '11 .14aa




                     Ramallah ,Almasyon                                                                                    0",./2.611 4.111 eib
                Tel :022973265,022973263                            http://www.manna.ris                      022973265,022973263:.M
                         Fax: 22973264                              Email: info@moj.pna.ps
                                                                                                                       022973264:,sli
Case 1:18-cv-02192-HG-PK                      Document 84-13                                 Filed 03/04/22                             Page 7 of 10 PageID #:
                                                        1355




                                                                 .............
                                                     6! ii h ..11611 s_6..J161-11
                                                     PALESTINE MONETARY AUTHORITY


                                                           ia+a)11
                                                            . cia311inl essy
        P6160675 :LisijeIt 3.1)11
      2021/10/&e36iM
       2021/10/ 2_6:tvelli
                                                                                            alati-%                                                   eis

                                                                                                                                                      istis

                                                                                                                                                         — Atg



                                                                                                                                                  AL,94#10 ;c:;
                                       CV-02192—RPK—PK                                              csocall :em:a9.4.11
                                                       ;u1                                           u112

      kb:.1:411      sj .L,...11_3 1:,)!             AL.)!                       atr il 2020/1/29 ) tyy,11 L543:011                              )I
      4- .42yStt          '] 3t-3,41)4 — J159 a ksiyill                                                                           cl .311d <_a ,:ja
               kiaa ;s3c.a 14Ala:Nadi uUflaa5 Stag                                                                                     E.Jc.l.uull 1446 ‘Alba
              RP-     L.P.2_,A3 Z .1111-11 c_tii4 9          u331,41                         a c. cyta seya                        •Zotadai Za-caall
                                            L.r a                                                            (53)..9      J   y1.i.au yils11                     .3.1 9

                                                                                                            ell
                                                    91/ 3 al'. -"II Let'                 cs-1!                    LA -49 Cj- ite C                   491aJJ Ci:A9.9



      Ci c A4ayaall 4iy.Jl t e3:23 il;<11,1 SA, ,,a13.11                                 cji .;12;21....141 aith :t1-.1-1 Jags,.                         . L5J.1 L1313

      j9.11            0 :cuts.:y c5131 idaSil                                                                                 4.11 42Al2-43 C!:.113

      434.41 els 1 eir .1 1D-4 cJS Lsia                    a"                    ii csi 41 c]ro-'aii ujLa Jl J- -9 2010 Ai. I (9) eij 1: 334

                  a)aNI lyn 35.2                             call4. 1 At csic                                 _336 31                  (39 11:3 ALL 31
                                                                                                                               A1.&11                       —i
                                                                                                 42;2 "ia         ..SSA           ,A..0         Lase5.Z.
                       it....eisA          csia,Sy.yl s a all ciwp Lo uitari A"LL                                             4-41-‘      J       life ibL41 413
                  31 Jli atil IJMc9 yla371 plc                                                                         331.tall                     Za35..>11
      L134a..N.11‘,alla.3 aJl e uLa y v a4111-all A41U.11                L5                                       L..F4y 4.31 )11 oi.c.33,1411 346 ;UsaaS/1
       3≤J ;I_Neysall                                     ujs,, 4.51i sa.ali                                           4a                 at   41:Li cibi— Lc!.



              Ramallah & Al-Bireh Governorate - Palestine P.O. Box 452 ci.co mhoiln - 610.119 0111 .01J ii.bAlan
              info@pma.ps        Fax: +970 2 2415310 viS Lb I Tel: +970 2 2415251 :thiLa
                                      Gaza - Palestine PO Box 4026 ti.uo oihm16 - aji
                                      Fax: +970 8 2844487:01.5LO Tel: +970 8 2825713 :scilLa
Case 1:18-cv-02192-HG-PK                           Document 84-13                                Filed 03/04/22                       Page 8 of 10 PageID #:
                                                             1356




     141 ..)141411         s.-43                       31.2 c           '. C,. Willi uisi              bU.11 4x11 JUAll c?;21....3;11 ,_:tiL,„31 3_0

                                                                                                                   pc.          ‘,.11.11 ty.:=3.4 J        ac-i




     14.14.ai L5C 121.F.-N.11        9          y9 ;Lib.131                                                2L.3 .11 a3310                    aria ‘3,41,6-

                                                                                                                                             Z.b4b11 44-511


                                         L...                t            ..):3,1043                          4 1,1 a sya Jl a j          Jl =LUI cji .1

                    cell cigjill bale lziaji               I A.1„Illaiall 449 . sAy.a...11                                    rog2N1 cat'

     ettl i laj i ;call% a..J 21.44.4S/1 611, 31S 4. 311 j ..CJI                 u a          eua.3                 cLk3i ks—                     a_yill
                                           2t4.,:a113 53a.                                                                             ta. 1994

     ..U.:%! Cell                                   03.%                      3)4 awl.,N.A11 3141 (:).o z.2.1.11                      ji...11 3A 1_45_9

                    u.4.1
                    -   3.411 ;12i!I Cy. a11.1                       Ulm ;11t              <31.,.a          4.41    C ALA.161i




     t-441           u)1        Y1         4 31:1113
                                                   .     Di 4 6.11   LA         3.11u9.              S13

                                                                 et1.331 Lyaut s„,. LA,                                  yr-L.4'11_9 cpLasii

                                                                                                      r gaiti j hol Ls31 441 La ck3aZLA11,1




                           jau..11) totha,33 14,11...j d j 1....e J9ii11 JAI ,1994 etd pL 91 ;Alia                                           ryl ) a=7,
     cave c~ as
              .).       cillS 4411 499yaw11 At y.411 cacz.i                            Lffi                                             41.1.1“,41A

                                                                                                               c kJ Ad.44.11 1.6:9...4,       33.1.:sall


     t-ky. 431 ,s1c. a. (41) a.11...11                 Z: 121....1.11          A.LL utt.,11997 A.L.J (2) jab                                 ual

                                                           da21.1113                        02;21^- 1; 11          itiaL    val


       2;)--611 skim ;Lam c-Da-oi ,2002 ;Lica] (2) eb 4 LaJi ()j ai c). (26) 5.1.11                                                          ta.).,...115 .2

              / .31 &MS ejall aa,ya C51e 4,0
      ,j.i2.112                                             _t_stim e5 LA                  2010/78 eb eyiall 2010/7/25 &jr-1:.

      ei:AN                          Zak:WI kab-.112u
                                                    .7.1
                            3.2-4,111 c.s1c t)U2111                       1_4-11 91 4321-...14                               14.6e. 41     3951    r.a.•



                                                                                                                         • 41)-46:9



                                                                                       2
Case 1:18-cv-02192-HG-PK                    Document 84-13                      Filed 03/04/22                Page 9 of 10 PageID #:
                                                      1357




     kva.,911 3*ii?.11       j3:4.,113 (2010) ai..J (9) k             J3I       (a)LII     \21......611                             .3

             it9_51 „cit. c_usi                 j          L:).44 (32) saw co (4) its. a.c 2010/11/27 &JbI

                         asi ()a ,kiLs...11 st,                                                                             c.)..
     raj aA11       y114. 1,c 31 _,114. 3.), .da. 91 4 a 31 4:1413                          uL1 219 uLo9L All AIL gall

     13:41,1113 asa.4411_9                                                               sJiJI                        sii
     cy. 3,4                             bit cy3 cgi           41..a c5:1t                                       op t

                                                                                                  t


             C.:11,31fij uU9ac9 ul cp A..‘23\1 CLOW u aii cia                              Cs (54) S.1.411) 3j) us .4

     413 akLAll (32) s.)1_41i j ai as1LaA uc a tuvicvb                            oals.:05u                ku,s4.11

              (ei                          cc                             J AI (,_1?.3 .oISji...c, Ci1j133 :talaii

                                                                                 ;A:y.a.411 .A.iyAll i,IS>t)/ c1allaA csA3,



            Sew its,.             cp. c1-411 Atilt ja.tall          x.-11 ‘,111,           J.1.3.411 U.o 4:111 t ail La c9.a „sic
                                                                                                                ati at, Cj s L:41„1„„,,,
     2.2;21-611 ilan              ,5 L≤ a2;21-„,igt k.,4)„ll c,L9i taD3 cx,31981
     cip cLasp,, cxt...A4 Lci zusuit 441 j A 4 .c / 1.2i..5 i t                                                       ks.)Lail
                                                          cJi t s1.1113 LJJi9 c231.41                 tiNs.1.4.2.1a. uLLwa9 CL3131: 1?
                                                                                                       .‘ 31:611 1:14 ty.;:ty3 s ic 41.4


                                                    "Iii1113                 c1.944 19      9




                                                                      3
   Case 1:18-cv-02192-HG-PK                       Document 84-13 Filed 03/04/22               Page 10 of 10 PageID
                                                          #: 1358

  k           ' r. ti          !              Lc: 1



                                                      CERTIFICATION
TransPerfect is globally certified under the standards ISO 9001:2015, ISO 17100:2015, and ISO 18587:2017. This
Translation Certificate confirms the included documents above have been completed in conformance with the Quality
Management System documented in its ISO process maps and are, to the best knowledge and belief of all
TransPerfect employees engaged on the project, full and accurate translations of the source material.

 File Name(s):                      PMA MoJ Resp (w Eng)

 Source Language(s):                Arabic

 Target Language(s):                English




 Authorized Signature:




  "*-+,') #'( 7$'* 15 0.00 /3620 "%&8


 Name:        Crystal Dai

 Title:       Senior Project Manager

 Date:        March 3, 2022




 Reason for signature: I approve the accuracy of this document content as written




TP-PM-401-W037-F002 Certification without Notary v.2                                                               Page 1 of 1
Effective: 22-November-2019                                © 2022 TransPerfect Translations International, Inc. (TransPerfect).
